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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

TRISH KINCAID, on behalf of herself )
and others similarly situated,      )
                                    )
Plaintiff,                          )
                                    )
v.                                  )         No. 1:18-cv-00707-AT
                                    )
COURIER EXPRESS/CHARLOTTE,          )
INC., COURIER EXPRESS/RALEIGH,      )
INC., COURIER EXPRESS FREIGHT,      )
INC., COURIER EXPRESS US, INC.,     )
and IDEXX PHARMACEUTICALS,          )
LLC,                                )
                                    )
Defendants.                         )
____________________________________)



  MEMORANDUM OF LAW IN OPPOSITION TO COURIER EXPRESS
           DEFENDANTS’ MOTION TO DISMISS
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   I.       Introduction

        In this wage and hour class action, Defendants Courier Express/Charlotte, Inc.,

Courier Express/Raleigh, Inc., Courier Express Freight, Inc., Courier Express US,

Inc. (“Courier Express Defendants”) seek to partially dismiss Plaintiff Trish

Kincaid’s Complaint for failure to state a claim. Specifically, Defendants argue that

dismissal is required under Fed. R. Civ. P. 12(b)(6) because, according to Defendants,

the facts asserted in Plaintiff’s Complaint somehow demonstrate that Defendants’

deductions taken from Plaintiff’s pay and their failure to pay Plaintiff all promised

wages per shift were authorized and lawful. However, even a cursory review of

Plaintiff’s Complaint and the “independent contractor agreement” that Courier

Express Defendants have asked the Court to consider (but that they have not

submitted and is attached hereto as Exhibit 1), demonstrate that Plaintiff has stated a

facially sufficient claim that 1) she was an “employee” of Courier Express

Defendants; 2) Courier Express Defendants deducted amounts from her pay without

authorization; and 3) Plaintiff did not receive all earned wages because she was

required to bear significant business expenses of Defendants that decreased her pay

below what was promised. As a result, Defendants’ motion should be denied in full. 1


        1
         In the alternative, should the Court find that Plaintiff’s Complaint should
merely contain more thorough allegations regarding all of the specific types of
deductions taken from her pay, the specific expenses she incurred, or Defendants’
failure to obtain lawful authorization for all of the unlawful deductions, Plaintiff
should be given leave to amend her Complaint to assert these facts.
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   II.      Factual Background

         The Courier Express Defendants contract with various companies to perform

pick-up and delivery services of supplies, materials, and medical specimens. Dkt. 1,

Compl., at ¶ 26. In order to make these pick-ups and deliveries, Courier Express

Defendants contract with individuals like Plaintiff, assigning specific pick-ups and

deliveries to Plaintiff and other couriers on a daily basis. Id.

         In order to work for the Courier Express Defendants, couriers are required to

sign a form “independent contractor agreement.” Id. at ¶ 27. Although they are

classified by the Courier Express Defendants as independent contractors, Plaintiff and

other delivery drivers are, in reality, employees subject to extensive control of the

Courier Express Defendants. Id. at ¶¶ 2, 27. For example, under the terms of the

independent contractor agreement, the Courtier Express defendants reserve the right

to terminate couriers for any reason. Id. at ¶ 28.

         Plaintiff and other couriers work assigned shifts or “runs” during which they

begin their shift at a time assigned by Courier Express Defendants. Id. at ¶ 30.

Before the beginning of each shift, Courier Express Defendants electronically

transmit the assigned route to each courier, which lists each stop that they must make

during the shift and the time that they must arrive. Id. at ¶ 31. Plaintiff and other

couriers work six days, a week, averaging 48 hours a week. Id. at ¶ 24.




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      Courier Express Defendants require Plaintiff and other couriers to wear a shirt

or vest with a “Courier Express” logo, and to have a “Courier Express” magnetic logo

on their car at all times while making deliveries. Id. at ¶ 34. Plaintiff and other

couriers are also required to purchase and carry a cooler for storing lab specimens. Id.

at ¶ 35. Throughout the day, Courier Express Defendants track each courier’s

progress via GPS, and couriers are required to have their GPS on at all times so that

Defendants can track them. Id. at ¶ 33. The couriers are required to follow the route

and perform the pick-ups in the exact order set out by the Courier Express

Defendants; when Plaintiff and other couriers attempted to perform the pick-ups in a

different order, they were reprimanded. Id. at ¶ 32.

      Plaintiff and other couriers are paid a set amount per “run” or shift. For

example, the rate for the “evening run” on Monday through Friday is $115, while the

“day run” is $80/shift. Id. at ¶ 37. These rates are unilaterally determined by the

Courier Express Defendants, and couriers cannot negotiate higher amounts, nor can

they negotiate directly with Courier Express Defendants’ customers regarding the

price of their delivery services. Id.

      Although Plaintiff and other couriers routinely work more than 40 hours a

week, they do not receive a premium for overtime hours worked. Id. at ¶ 38.

Plaintiff and other couriers received their weekly pay on a “ComCard” and were

charged a fee to retrieve the money from the card. Id. at ¶ 39. In addition, the Courier


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Express Defendants deduct various amounts from the couriers’ pay on a weekly

basis; for example, Courier Express Defendants deduct approximately $50 per week

for “insurance” charges for a worker’s compensation insurance policy, and they

deduct an additional amount each week for use of the software application through

which couriers receive their work assignments. Id. at ¶ 40.

      The independent contractor agreement, which Defendant has requested that the

Court consider at the motion to dismiss stage, lists nineteen separate deductions that

may be taken from Plaintiff’s pay or the pay of other couriers, the majority of which

do not include any proposed “amount” of the deduction. See ICA, Ex. 1, at p. 15.

For example, Courier Express Defendants may deduct any amount for a “cargo

claim” if there is a customer that claims that a specific delivery was delayed or

contaminated, or if the customer’s signature is merely illegible and the delivery

cannot be “verified.” ICA, Ex. 1, at p. 5. Along with “cargo claims,” Courier

Express Defendants also may deduct amounts in the “actual” value for any fines,

penalties, or “other operating expenses,” none of which have any specific amount of

the deduction listed in the ICA. Id. at p. 15. The contract also provides Courier

Express Defendants with the right to “charge back” any additional deduction that they

believe the driver is “responsible for” under the agreement. Id.




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      Plaintiff and other couriers perform their work in their own personal vehicles,

and therefore they also pay a substantial amount of Defendants’ business expenses,

such as the costs of fuel and vehicle maintenance. Id. at ¶ 41.

   III.   Legal Standard applicable to Defendants’ Motion to Dismiss

      “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain

statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give

the defendant fair notice of what the . . . claim is and the grounds upon which it

rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,

550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).

      As one court in this District observed when confronted with a motion to

dismiss in an FLSA overtime case, though Iqbal and Twombly arguably tightened the

pleading standards required to state a claim for relief, they “did not, however,

dispense with common sense, and there remain areas in a given complaint that can be

inferred when they are, for example, glaringly obvious.” White v. View Point Health,

2015 WL 309440, at *1 (N.D. Ga. Jan. 26, 2015) (denying defendant’s motion to


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dismiss plaintiff’s claim that employer failed to pay overtime required under the

FLSA).

      In considering a Rule 12(b)(6) motion, the court must construe the complaint in

the light most favorable to the plaintiff, read the complaint as a whole, and take the

facts asserted therein as true. Scott v. Taylor, 405 F.3d 1251, 1253 (11th Cir.2005).

The test for the sufficiency of a pleading is “context-specific, requiring the reviewing

court to draw on its experience and common sense.” Iqbal, 556 U.S. at 663-64 (citing

Twombly, 550 U.S. at 556).

      Here, Plaintiff has clearly stated a claim that is plausible on its face for

recovery of unpaid wages and unlawful wage deductions, and the Courier Express

Defendants’ motion to dismiss must be denied.

   IV.    Plaintiff Has Sufficiently Pled her Claims against the Courier Express
          Defendants under the NCWHA

      In this action, Plaintiff alleges that she and other couriers were “employees” of

the Courier Express Defendants, and that Defendants violated N.C. Gen. Stat. § 95-

25.6 and N.C. Gen. Stat. § 95-25.8 by failing to pay Plaintiff and other couriers their

legally due wages on their regular payday and by unlawfully withholding and

diverting wages without authorization and for purposes that were not permitted by

law. 2 Compl. ¶¶ 61-70.

      2
            According to North Carolina caselaw, there are generally eight factors
which determine “employee status” under the NCWHA’s “right to control” test:

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      Under N.C. Gen. Stat. § 95-25.8, an employer may only withhold or deduct

portions of an employee’s wages under the following three scenarios: (1) if they are

authorized by state or federal law; (2) if the employee provides a specific

authorization (discussed in greater detail below); or (3) if the employee provides a

general, or blanket, authorization (also discussed below). See N.C. Gen. Stat. § 95–

25.8(a); Whitehead v. Sparrow Enter., Inc., 605 S.E.2d 234, 238 (N.C. App. 2004);

see also Romero v. Mountaire Farms, Inc., 796 F. Supp. 2d 700, 714 (E.D.N.C.

2011). As the Courier Express Defendants note, even if the deduction is

appropriately authorized, the deduction is still improper and the amount is still

recoverable under Section 95-25.8 if the deduction is itself illegal; for example if the

deduction requires the employee to bear the employer’s portion of worker’s



       The person employed (a) is engaged in an independent business, calling, or
occupation; (b) is to have the independent use of his special skill, knowledge, or
training in the execution of the work; (c) is doing a specified piece of work at a fixed
price or for a lump sum or upon a quantitative basis; (d) is not subject to discharge
because he adopts one method of doing the work rather than another; (e) is not in the
regular employ of the other contracting party; (f) is free to use such assistants as he
may think proper; (g) has full control over such assistants; and (h) selects his own
time.
McCown v. Hines, 140 N.C.App. 440, 443, 537 S.E.2d 242 (2000) (quoting Hayes v.
Elon College, 224 N.C. 11, 16, 29 S.E.2d 137 (1944)). “No one factor is
determinative.” Id.; see generally Church v. Home Fashions Int'l, LLC, 879 F. Supp.
2d 498, 504 (W.D.N.C. 2012), aff'd, 532 F. App'x 345 (4th Cir. 2013), and aff'd, 532
F. App'x 345 (4th Cir. 2013). Defendants do not argue that Plaintiff has failed to
plead sufficient facts which could establish here status as an employee under the
“right to control” test.

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compensation insurance contributions (which, by statute, are required to be borne by

an employer and may not be shifted to employees). See 13 NCAC 12.0305(g).

      Plaintiff has alleged in her Complaint that Courier Express Defendants took

various deductions from her pay that were not authorized by state or federal law,

were not supported by appropriate specific or general written authorization from the

employee, and that are otherwise unlawful (even if supported by such authorization).

Dkt. 1, Compl., at ¶¶ 61-72. Courier Express Defendants have moved to dismiss

these wage deductions claims on the grounds that the deductions were authorized by

the federal Truth in Leasing regulations and through written authorizations of

Plaintiff and other drivers; however, there are no facts in the Complaint suggesting

that the Courier Express Defendants can satisfy any of the criteria necessary to

establish their affirmative defense that their wage deductions were authorized, and

this portion of Defendants’ motion must be denied.

      Plaintiff also alleges that she and other couriers were not paid all wages due, as

the wage deductions and out-of-pocket expenses incurred on Defendants’ behalf in

furtherance of Defendants business brought their wages below Plaintiff’s legally

owed and promised wages. N.C. Gen. Stat. Ann. § 95-25.6 requires that “[e]very

employer shall pay every employee all wages and tips accruing to the employee on

the regular payday.” An employer may be found to violate the statute where the

employee bears the employer’s business expenses, thus reducing her earnings below


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the promised wage. See Gaxiola v. Williams Seafood of Arapahoe, Inc., 776 F. Supp.

2d 117, 132 (E.D.N.C. 2011) (finding that “[d]efendants have also violated the

NCWHA by shifting the cost of visa, transportation and border crossing expenses to

[plaintiff] and other members of the NCWHA class to the extent those deductions

brought their pay below the promised wage”). Courier Express Defendants argue that

this claim should also be dismissed, confusingly suggesting that Plaintiffs received all

promised and due wages because she and other couriers agreed to bear these business

expenses such as fuel and vehicle maintenance on Defendants’ behalf. This is not a

recognized defense to Plaintiff’s wage payment claim, and Defendants’ motion must

be denied on this issue as well. See Rehberg v. Flowers Baking Co. of Jamestown,

LLC, 162 F. Supp. 3d 490, 506 (W.D.N.C. 2016) (“the stated purpose of the

NCWHA… clearly indicate[s] that employers should not be permitted to contract

around proper payment of their employees”).

      Finally, Courier Express Defendants argue that Plaintiff has not stated a claim

for relief against several of the Defendants that are not named in her “independent

contractor agreement” (i.e., Courier Express/Raleigh, Courier Express Freight, and

Courier Express US). However, the NCWHA contains a broad definition of who

may be an “employer” or “joint employer” under the statute, see N.C. Gen. Stat. § 95-

25.2, and Plaintiff has sufficiently pled that the four Courier Express Defendants

jointly controlled her work such that they were her employer. To the extent that one


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of these entities was less involved in the control or supervision of Plaintiff’s work, as

Defendants’ now claim, that is a question to be resolved after discovery on a full

factual record at summary judgment or at trial.

      Accordingly, as discussed in greater detail below, the Courier Express

Defendants’ motion must be denied in full.

           A. The Deductions Made from Plaintiff’s pay are not Authorized by
              virtue of the federal Truth in Leasing Regulations
      Contrary to Defendants’ assertions, the Truth in Leasing (“TIL”) regulations 3

do not authorize the deductions taken by Defendants from Plaintiff’s pay. 4 There is

some question as to whether these regulations apply at all in the present case, since,

as Defendants acknowledge, Plaintiff used her own personal car to make deliveries

for Defendants, as opposed to a truck that is subject to federal motor carrier and

leasing regulations. In any event, the TIL regulations were drafted to ensure that

certain terms be included in leases. 5 The purpose of these regulations is to protect


      3
          49 C.F.R. Part 376 (1979) (amended 2018).
      4
        This is especially true where the deductions are for an illegal purpose, such as
requiring employees to pay for worker’s compensation or similar insurance; under the
NCWHA, because the employer cannot withhold such wages for a deduction that is
considered illegal or the employer failed to obtain the proper authorization prior to
taking such withholding. See § 95.25.8(a); see also 13 NCAC 12.0305(g).
      5
        For example, the Regulations specify that any “lease” under the regulations
must identify the equipment used for service in accordance with the requirements of
the Federal Motor Carrier Safety Act. 49 C.F.R. § 376.11. The agreement must also
grant to the lessee “exclusive possession, control, and use of the equipment” that is
“leased” for carrier services. 49 C.F.R § 376.12(c)(1). The ICA at issue here may
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truck drivers from abusive financial practices by the carrier companies who contract

with them for their services. See Owner–Operator Indep. Drivers Ass'n, Inc. v. Swift

Transp. Co., Inc., 367 F.3d 1108, 1115 (9th Cir.2004); In re Arctic Exp. Inc., 636

F.3d 781, 795 (6th Cir. 2011). In other words, the TIL Regulations require that the

motor carrier (allegedly Courier Express in this case) specify the lease payments,

terms and conditions of the lease, etc., so that the truck owner (Plaintiffs in this case)

is not fleeced by the motor carrier. 6

      Because these regulations are intended for the benefit of Plaintiffs and other

“owners” of vehicles, the regulations were obviously not intended to circumvent or

curtail the protections of state wage and hour laws enjoyed by these same individuals.

The Interstate Commerce Commission explicitly stated that it “did not intend that its


nominally include this language, but then it proceeds to state the contrary that the
driver may use the equipment to perform services for others. Thus, it is questionable
whether the ICA complies with the terms of the Truth in Leasing regulations and that
they are therefore inapplicable in this case.
      6
          Specifically, the purposes of the regulations are as follows:
       (1) to simplify existing and new regulations and to write them in
understandable English; (2) to promote truth-in-leasing-a full disclosure between the
carrier and the owner-operator of the elements, obligations, and benefits of leasing
contracts signed by both parties; (3) to eliminate or reduce opportunities for
skimming and other illegal or inequitable practices; and (4) to promote the stability
and economic welfare of the independent trucker segment of the motor carrier
industry.
Shimko v. Jeff Wagner Trucking, LLC, 2013 WL 10075919, at *2 (W.D. Wis. June
28, 2013) (quoting Lease & Interchange of Vehicles, 131 M.C.C. 141 (I.C.C. 1979)).

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leasing regulations would supersede otherwise applicable principles of State tort,

contract, and agency law.” 7 Lease & Interchange of Vehicles (Identification Devices)

(49 C.F.R. Part 1057), 3 I.C.C.2d 92, 93 (I.C.C. Oct. 10, 1986) (discussing carrier

liability). The Commission explained that “[o]ur regulations should have no bearing

on this subject” when “[a]pplication of State law will produce appropriate results.” Id.

Courts have also found that Congress “has not comprehensively and exclusively

legislated on the subject of interstate motor carrier leases and thereby occupied the

entire field of law for leases involving interstate motor carriers.” Stewart Trucking,

Inc. v. PBX, Inc., 238 Neb. 958, 965 (1991).

      Beyond the clear statutory purpose, the plain language of TIL also

demonstrates that the regulations are inapplicable in this context and do not

“authorize” the unlawful deductions for which Plaintiffs seek recovery. The

regulations make clear that “[n]othing in the provisions required by paragraph (c)(1)

of this section is intended to affect whether the lessor or driver provided by the lessor

is an independent contractor or an employee of the authorized carrier lessee.’” 49

C.F.R. § 376.12(c)(4)); see also J.B. Hunt, 2016 WL 4975194, at *5 (“the regulations



      7
        Consistent with the view of the ICC, the federal FLSA, which deals directly
with employees’ rights to wages, specifically permits states to provide wage
protections to workers that are more generous than the rights guaranteed under
federal law, which is exactly what North Carolina has done through enactment of the
NCWHA. See 29 U.S.C. § 218.

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are explicitly agnostic on the issue of the carrier-driver relationship.”). Indeed, the

regulations Defendant cites relate to the relationship between trucking companies and

independent contractor drivers. Fox v. Transam Leasing, Inc., 839 F.3d 1209, 1215

(10th Cir. 2016) (“Congress's substantive purpose in authorizing the [TIL]

Regulations was . . . to address many of the inequities in the lessor/lessee relationship

between carriers and independent truckers”) (citations omitted, emphasis added).

      The NCWHA, by contrast, applies to companies’ relationships with their

employee drivers. Accordingly, Defendants’ suggestion that these regulations apply

to its relationship with its drivers is based on the assumption that these drivers have

been properly classified as independent contractors, an assumption that is

fundamentally at odds with Plaintiff’s misclassification allegations in the Complaint

(which must be taken as true at the motion to dismiss stage). 8 In other words, either


      8
        The claims here are nearly identical to those asserted in Rehberg v. Flowers
Baking Co. of Jamestown, LLC, 2015 WL 1346125, at *8 (W.D.N.C. Mar. 24, 2015),
a case in which a group of delivery drivers alleged that they were misclassified as
independent contractors, that they were employees under the NCWHA, and that they
were entitled to recover deductions taken from their wages. In that case, the
defendant made a similar argument to that asserted by the Courtier Express
Defendants here – that Plaintiff's wage deductions claims failed because they “are not
paid “wages” within the meaning of the NCWHA.” Id. The court rejected this
argument, observing that “the entire premise of Plaintiff's claims is that distributors
are employees, not independent contractors, and that as such, they are entitled to
certain benefits, including wages. The court will therefore allow Plaintiff's claim on
wage deductions to stand….” Id. The court in Rehberg also held that these wage
deductions claims were susceptible to resolution on a classwide basis and certified a
class of drivers under Rule 23. See id.

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the drivers are employees pursuant to the NCWHA, , in which case the IWPCA

applies and federal regulations relating to independent contractor drivers are

inapplicable, or the drivers are independent contractors, in which case the NCWHA

does not apply. 9 Plaintiff’s claims for misclassification and improper deductions

under the NCWHA are therefore wholly outside the purview of the TIL Regulations,

which address the terms of a lease between a truck driver and a transportation

company.

      Indeed, a federal court considering the identical argument (made by the same

counsel) in a case in Illinois found that the TIL regulations neither preempt the

deductions claims made by drivers alleging misclassification under Illinois law, 10 nor

give the defendant permission to make similar deductions from the driver’s wages:



      9
         A number of courts that have addressed the preemptive effect of ICC
regulations in other contexts have held that they do not preempt state claims. In
Jacobs v. Central Transport, Inc., the court held that ICC regulations did not preempt
state unfair and deceptive trade practices claims, holding that “[n]othing in the ICC
regulation suggests that ‘Congress has manifested a clear intent to displace state
regulation of unfair trade practices.’” 891 F. Supp. 1088, 1112 (E.D.N.C. 1995) aff’d
in part, rev’d in part on other grounds, 83 F.3d 415 (4th Cir. 1996) (quoting Bostick
Oil Co. v. Michelin Tire Corp., 702 F.2d 1207, 1219 (4th Cir. 1983)). In Stewart
Trucking, Inc. v. PBX, Inc., the court held that the Interstate Commerce Act and the
ICC regulations did not preempt state contract law. 473 N.W.2d 123, 127-28 (Neb.
1991).
      10
         Similarly, in Romero v. Mountaire Farms, Inc., 796 F. Supp. 2d 700, 710
(E.D.N.C. 2011), the district court held that a plaintiff’s claims under the NCWHA to
recover unlawful deductions from wages are not preempted by the FLSA and the
court certified a class of 2,000 workers to pursue these claims against a defendant.
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“the Court does not read the Regulations as providing for the deductions at issue in

all trucking contracts in general. It is clear from the plain language of the

Regulations that they simply require that, if certain arrangements are made between

an owner-operator and a carrier, those arrangements should be included in the written

lease.” Johnson v. Diakon Logisitics, No. 16-cv-06776, ECF No. 98, pp. 12-13 (N.D.

Ill. Mar. 28, 2018) (attached hereto as Exhibit 2). Thus, for example, 49 C.F.R. §

376.12(j)(1) “does not say that a charge back for insurance is allowed under all

circumstances, including those in the present case. Instead, it simply contemplates

that a driver and a carrier might agree to a charge back provision and, if so, the

provision should be spelled out in their lease.” Id. at p. 13. This reasoning is equally

applicable to the present case.

      The Defendants point to two cases in which courts have found that plaintiffs’

wage deductions claims for escrow fund and cargo damage deductions were

preempted by the TIL regulations. See Valadez v. CSX Intermodal Terminals, Inc.,

2017 WL 1416883, at *9 (N.D. Cal. Apr. 10, 2017); Remington v. J.B. Hunt

Transport, Inc., 2016 WL 4975194, at *3 (D. Mass. Sept. 16, 2016). These cases in

no way undermine Plaintiff’s wage deductions claims here. First, in this case the

Courier Express Defendants do not argue that the wage deductions claims are

preempted under the Supremacy Clause; instead, they argue that the regulations

specifically authorize the deductions that they took from Plaintiff’s wages, which is


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not true based on the clear language of the regulations (discussed above). Second,

these unreported federal district court cases from other jurisdictions are not binding

on this court, and the more recent Diakon Logisitics is more directly on point. Third,

Plaintiff respectfully suggests that these two decisions were wrongly decided

because, as discussed above, the regulations were specifically intended not to have

any effect on state law’s affecting contractual and employment relationships. Fourth,

in both of those cases, the owner/operators were over the road truck drivers who were

leasing their trucks to the motor carriers to carry freight as prescribed by the motor

carrier with different freight being carried on different days, which is more akin to the

type of trucking and leasing arrangements which were intended to be targeted by the

TIL regulations. Here, by contrast, the drivers use their own, personal vehicles and

all they do is deliver and pick up medical specimens, day in and day out, on the same

basic routes. In other words, the facts here do not even approach the owner/operator

arrangements in those other two cases.

      In sum, the Courier Express Defendants’ attempt to use the TIL regulations to

argue that certain deductions from Plaintiff’s pay were “authorized” by federal law

fundamentally misconstrues the purpose of these regulations and the nature of

Plaintiff’s claims under the NCWHA. That portion of Defendants’ motion seeking

must be denied.




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          B. There are No Facts Indicating that Defendants Obtained a Specific
             or General Authorization for the Deductions from Plaintiff’s Wages
      Courier Express Defendants next argue that Plaintiffs failed to allege a lack of

written authorization for the wage deductions described in their Complaint. This

argument is misplaced for several reasons. First and foremost, it Plaintiffs’ burden at

the pleading stage and at trial to merely demonstrate that the wage deductions

occurred, and it is Courier Express Defendants who will bear the burden of

establishing that the deduction were properly “authorized” as an affirmative defense.

See Rapczynki v. DirecTV, LLC, 2016 WL 1071022, at *9 (M.D. Pa. Mar. 17, 2016)

(denying defendant’s motion to dismiss plaintiff’s wage deductions claims under

Pennsylvania law because plaintiff had no obligation assert facts related to

defendant’s “affirmative defense that the chargebacks were lawful….”). Plaintiff was

not obligated to establish by way of her Complaint the Defendants’ inability to

succeed on their affirmative defense, and therefore Defendants’ argument on this

point should be disregarded entirely. See Goodman v. Praxair, Inc., 494 F.3d 458,

466 (4th Cir. 2007) (holding that plaintiff is not required “to plead affirmatively in his

complaint matters that might be responsive to affirmative defenses even before the

affirmative defenses are raised”).

      Any potential “authorization” of the deductions is also irrelevant because many

of the deductions were for an illegal purpose. Under the NCWHA, the employer



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cannot withhold such wages for a deduction that is considered illegal. The

regulations provide the following:

      Authorizations for deductions that are not permitted by law are invalid. For
      example: (1) G.S. 97-21 invalidates agreements by an employee to pay any
      portion of a premium paid by his or her employer to a workers' compensation
      insurance carrier; (2) 13 NCAC 07F .0101(a)(2) requires the employer to
      provide, at no cost to the employee, all personal protective equipment which
      the employee does not wear off the jobsite for use off the job.”) If an employer
      withholds or diverts wages for purposes not permitted by law, the employer
      shall be in violation of G.S. 95-25.6 or G.S. 95-25.7, or both, even if the
      employee authorizes the withholding in writing pursuant to G.S. 95-25.8(a),
      because that authorization is invalid.

13 NCAC 12.0305(g). Thus, Plaintiff’s allegation that Defendants deducted amounts

from her pay that were illegal, such as deductions for worker’s compensation, 11

renders any analysis of the Defendant’s purported “authorizations” completely

unnecessary at this stage, because even if the authorizations were appropriately

obtained they are “invalid.”




      11
         Defendants dispute Plaintiff’s characterization of the insurance charges as
“worker’s compensation” insurance and insist that the insurance charge was, in fact,
occupational accident insurance. See Dkt. 52-1 at 19. However, for purposes of a
Motion to Dismiss, Plaintiff’s allegations must be taken as true and construed in the
light most favorable to her. Young Apartments, Inc. v. Town of Jupiter, Fla., 529 F.3d
1027, 1037 (11th Cir. 2008). Defendants ask the Court to engage in fact-finding
regarding whether the purported occupational accident insurance is dissimilar to
worker’s compensation coverage, Dkt. 52-1 at 13-15, but this is improper at the
motion to dismiss stage, and would require the Court’s review of the relevant policy
or policies to make such a determination.

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      To the extent the Court wishes to address whether the Complaint contains

sufficient facts asserting that the wage deductions were unauthorized, the relevant

criteria is as follows: a specific authorization to deduct wages requires an employer

to have written authorization from the employee which (i) is signed on or before the

payday(s) for the pay period(s) from which the deduction is to be made; (ii) indicates

the reason for the deduction; and (iii) states the actual dollar amount or percentage of

wages which shall be deducted from one or more paychecks. Gaxiola v. Williams

Seafood of Arapahoe, Inc., 776 F. Supp. 2d 117, 131 (E.D.N.C. 2011) (quoting N.C.

Gen. Stat. § 95–25.8(a)(2)). Moreover, “the employee shall be given a reasonable

opportunity to withdraw the authorization,” see N.C. Gen. Stat. Ann. § 95-25.8(a)(2),

defined as “at least three calendar days from the date of the employer's notice of the

actual amount to be deducted or the employee’s written notice of withdrawal of the

authorization.” 13 NCAC 12.0305 (c).

      Contrary to Defendants’ assertions, Plaintiffs’ complaint sets forth adequate

allegations that the deductions made by Defendants were not authorized based on the

relevant criteria. Plaintiffs only received one initial document – their “independent

contractor agreement” – which mentioned nineteen chargebacks which may be made

from their pay, the majority of which do not designate any specific amount for the

deduction. Drivers were never provided three-days advance notice of when these

deductions would be taken, nor an accompanying opportunity to withdraw that notice


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on each occasion. In fact, once drivers have agreed to the deductions in these

unspecified amounts, the ICA does not permit them to make any unilateral changes to

the contract terms (such a withdrawing their assent to “charge backs”) without

Defendants’ mutual written consent. ICA, Ex. 1, at p. 10. In contrast, the cases

relied upon by Defendants make it clear that if a Plaintiff is found to have given a

specific authorization for a deduction in the initial hiring documents (as Defendants

argue occurred here through the ICA), the authorization is insufficient unless Plaintiff

is given the opportunity to withdraw the authorization on a regular basis each time the

deduction is to be assessed. See generally Leverette v. Labor Works Int'l, LLC, 180

N.C. App. 102, 113, 636 S.E.2d 258, 265 (2006) (finding specific authorization for

deduction where the “employee elected at the start of each day on which he chose to

work whether to authorize defendants to take any wage deductions”); Hyman v.

Efficiency, Inc., 167 N.C. App. 134, 141, 605 S.E.2d 254, 259 (2004) (finding a

sufficient specific authorization where “the deductions for transportation expenses are

not automatic. They are conditioned upon the class members specifically requesting

use of the van pool each morning.”). Here, the opposite was true; once the initial

authorization was allegedly provided through the ICA (as Defendants argue), the

deduction became automatic and could only be withdrawn with Defendants’ written

consent, which they were under no obligation to provide. And in many cases, the

ICA was so vague as to provide no information regarding what Plaintiff was actually


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agreeing to; for example, the deductions were for unspecified purposes, such as

“penalties” and “other operating expenses,” with no explanation given in the

purported “authorization” as to what these might refer to. The “cargo claims”

deduction was only slightly better explained, but is particularly oppressive, as it

allowed Courier Express defendants to deduct the “actual amount” of a claim by one

of its customers that a delivery was delayed or improperly recorded, such as if the

signature for the delivery was illegible.

      In addition, the amounts of deductions at issue were not specifically spelled out

in the ICA. The deductions set out in Plaintiff’s Complaint (Dkt. 1 at ¶¶ 39-40) and

discussed in Defendants’ Motion to dismiss, including insurance, the software user

license, and the charges associated with the use of the ComData card, were neither

specifically spelled out in the section of Plaintiff's Agreement describing chargebacks

nor authorized by Plaintiff in writing at any later time. 12 With regard to these

charges, Defendants did not provide Plaintiff with a document stating “the actual

dollar amount or percentage of wages which shall be deducted from one or more

paychecks.” N.C. Gen. Stat. § 95–25.8(a)(2)).




      12
        A list of “charge back” items appears on page 15 of Plaintiff’s Independent
Contractor Agreement. The chart listing these items and the associated amounts does
not mention the amount of any insurance charges, nor does it list charge backs for
software usage, or charges for the ComData card.
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      Courier Express Defendants do not argue that they had a general or blanket

authorization, nor could they. “Before an employer may deduct wages under a

blanket authorization, it must first provide the employee: (1) advance notice of the

specific amount of the proposed deduction; (2) a reasonable opportunity of at least

three calendar days from the employer’s notice of the amount to withdraw the

authorization.” Whitehead, 605 S.E.2d at 238 (citing N.C. Admin. Code tit. 13, r.

12.0305(d)). Plaintiff and the other couriers did not provide a general, or blanket,

authorization for these deductions since, once again, they did not receive “advance

notice of the specific amount of the proposed deduction” nor is there any assertions in

the Complaint or elsewhere that they were ever given an opportunity to withdraw

their authorization, which is a prerequisite to Defendants establishing their

affirmative defense that the deduction was appropriately authorized. Whitehead, 605

S.E.2d at 238 (citing N.C. Admin. Code tit. 13, r. 12.0305(d)).

         C. Defendants Required Plaintiff and other Couriers to Shoulder
            Defendants’ Business Expenses, Bringing their Compensation below
            the Promised Wage, Shift, or Route Rates.
      As set out in Plaintiff’s Complaint, the Courier Express Defendants forced her

and other couriers to incur business expenses which should have properly been borne

by Defendants. See Dkt. 1, Complaint, at ¶¶ 35, 41. These include the costs of a

specimen cooler as well as fuel and vehicle maintenance. Id. As Defendants

acknowledge, workers can bring claims under the NCWHA for unreimbursed


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expenses where these expenses bring employees’ compensation below their

“promised wage”. See Gaxiola, 776 F.Supp.2d at 132. Defendants contend, however,

that Plaintiff’s and other couriers’ “promised wage” is defined as “the total

compensation for everything furnished, provided or done by Plaintiff.” Dkt. 52-1 at

25. Relying on this circular definition, Defendants argue that it is impossible that the

deductions taken out of the couriers’ pay brought their wages below the “promised

wage,” suggesting, in effect, that the promised wage is whatever amount the couriers

ultimately take home after the expenses are incurred. Defendants’ argument defies

logic and flies in the face of the very purpose of the North Carolina wage statute.

      “The NCWHA . . . requires employers to pay their employees at least the

promised wage for each hour or part of an hour that they perform labor for their

employers.” Gaxiola, 776 F. Supp. 2d at 132 (citing N.C. Gen. Stat. § 95–25.6).

“Wages include compensation for labor or services rendered by an employee whether

determined on a time, task, piece, job, day, commission, or other basis of calculation

...” Murphy v. First Union Capital Markets, 152 N.C.App. 205, 208, 567 S.E.2d 189,

191–92 (2002) (quoting N.C. Gen.Stat. § 95–25.2(16)) (internal quotation marks

omitted). In this case, the logical definition of “wages” promised to Plaintiff and

other couriers would be the rate they receive for each of their scheduled shifts or

“runs” – i.e. $115 for each evening “run” and $80 for each day “run.” See Dkt. 1 at ¶




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37. To the extent the fuel, maintenance and specimen cooler expenses cut into those

costs and reduced Plaintiffs’ earnings they are in violation of the NCWHA.

      Defendants’ argument that Plaintiffs “agreed” to bear these expenses is

misplaced. As the court recognized in Gaxiola, in a situation where plaintiffs are

forced to shoulder a Defendant’s business expenses, and where those expenses bring

their earnings below the promised wage, they are recoverable, regardless of whether

or not they were agreed to. See generally Gaxiola, 776 F.Supp.2d at 132

(“Defendants have also violated the NCWHA by shifting the cost of visa,

transportation and border crossing expenses to Gaxiola and other members of the

NCWHA class to the extent those deductions brought their pay below the promised

wage.”). Indeed, in every case where an employee incurs business expenses on his or

her employer’s behalf, there will have been some “agreement” by the employee to

incur these expenses, even if the agreement is merely implied; this does not provide

Defendants’ with a defense to a wage payment claim under North Carolina law. See

Rehberg, 162 F. Supp. at 506 (“the stated purpose of the NCWHA… clearly

indicate[s] that employers should not be permitted to contract around proper payment

of their employees”).

         D. Plaintiff has Pled Sufficient Facts to Establish that all related
            Courier Express Defendants are Her “Employer”

      Under North Carolina law, an employer is “any person acting directly or

indirectly in the interest of an employer in relation to an employee.” N.C. Gen. Stat. §

                                           24
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95-25.2. When interpreting this broad definition of an “employer” under the

NCWHA, courts have observed that wage cases such as this “may be litigated against

multiple defendants under the theory that they form a single ‘employer’ under either

the ‘joint employment’ or ‘integrated employer’ theories of liability.” West v. J.O.

Stevenson, Inc., 164 F. Supp. 3d 751, 763 (E.D.N.C. 2016). The Courier Express

Defendants argue that only one entity – the entity identified in Plaintiff’s ICA – may

be considered an employer under the statute, but there is no support for this narrow

reading of the “employer” definition. For example, in West, the court explained that

“[s]eparate entities may be a single, ‘integrated’ employer where they share common

management, have related operations, share control of labor relations, and have a

degree of common ownership or financial control.” Id. at 764. Plaintiff has alleged

that all Courier Express Defendants (as well as Defendant IDEXX) shared control

over her work and were sufficiently related that they are her employer under the

NCWHA. Dkt. 1, Compl., at ¶¶ 14, 21, 29.


   V.      Conclusion

        As discussed above, Plaintiff has stated a claim for relief under the NCWHA

for unpaid wages and illegal deductions from her wages, and Defendants’ partial

motion to dismiss should be denied in full.




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Respectfully submitted this 21st day of May, 2018.



                               Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2018, the foregoing was served in

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